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                                                                           United States District Court
                                                                             Southern District of Texas
                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS                           ENTERED
                               HOUSTON DIVISION                             November 23, 2020
                                                                             David J. Bradley, Clerk

UNITED STATES OF AMERICA                       §
                                               §
versus                                         §        Criminal No. 4:20−cr−00621
                                               §
Arael Doolittle                                §


                    ORDER OF DETENTION PENDING HEARING


      A hearing in this case is scheduled as follows:

                             Arraignment and Detention Hearing
                              November 25, 2020 at 10:00 AM
                                         by video

       IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody
of the United States Marshal or any other authorized officer. The custodian must bring the
defendant to the hearing at the time, date, and place set forth above.


Date: November 23, 2020
